 1   Beth Wilkinson (pro hac vice)
     Rakesh Kilaru (pro hac vice)
 2   Kieran Gostin (pro hac vice)
     Grace Hill (pro hac vice)
 3   Anastasia Pastan (pro hac vice)
     Sarah Neuman (pro hac vice)
 4   WILKINSON STEKLOFF LLP
     2001 M Street NW, 10th Floor
 5   Washington, DC 20036
     Telephone: (202) 847-4000
 6   Facsimile: (202) 847-4005
     bwilkinson@wilkinsonstekloff.com
 7   rkilaru@wilkinsonstekloff.com
     kgostin@wilkinsonstekloff.com
 8   ghill@wilkinsonstekloff.com
     apastan@wilkinsonstekloff.com
 9   sneuman@wilkinsonstekloff.com
10   Bambo Obaro (Bar No. 267683)
     Weil, Gotshal and Manges
11   201 Redwood Shores Parkway
     Redwood Shores, CA 94065
12   Telephone: (650) 802-3083
     Facsimile: (650) 802-3100
13   bambo.obaro@weil.com
14   Counsel for Defendant Microsoft Corp.
15                                    UNITED STATES DISTRICT COURT

16                                   NORTHERN DISTRICT OF CALIFORNIA

17                                       SAN FRANCISCO DIVISION

18
     FEDERAL TRADE COMMISSION,
19
                        Plaintiff,                   Case No. 3:23-cv-02880-JSC
20
              v.                                     JOINT OPPOSITION TO PLAINTIFF’S
21                                                   MOTION FOR PROTECTIVE ORDER
     MICROSOFT CORP., et al.,
22                                                   The Honorable Jacqueline Scott Corley
                        Defendants.
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      Case No. 3:23-cv-02880-JSC                              JOINT OPP. TO PLF’S MOTION FOR PO
 1            The parties have been negotiating over a protective order and have reached agreement on
 2   many issues. But one issue remains: The FTC will not agree to allow any in-house litigation
 3   counsel at Microsoft and Activision Blizzard access to Confidential trial exhibits. Defendants’
 4   proposal—based on a protective order the FTC consented to in a recent § 13(b) matter in this
 5   District—is to permit a small number of in-house counsel who have no role in competitive
 6 decision-making and who are responsible for managing this litigation to view Confidential

 7 exhibits. See Ex. A ¶ 8. Microsoft and Activision have identified three and two such individuals

 8   respectively, each of whom has submitted a declaration attesting to their work responsibilities and
 9   their non-involvement in competitive decisions. The Court should reject the FTC’s needlessly
10   restrictive proposal.
11                                       PROCEDURAL HISTORY
12            Shortly after the complaint was filed on June 12, Defendants raised the need for a protective
13   order with the FTC. In the interest of moving expeditiously, Defendants sent the FTC a proposed
14   protective order based on one the FTC agreed to in a 2022 § 13(b) proceeding in this District. Two
15   days later, the FTC responded that it disagreed with the provision in Defendants’ proposal allowing
16   four in-house litigation counsel per party access to Confidential materials. During a meet and
17   confer, Defendants assured the FTC that the in-house designees would have no responsibility for
18   competitive decisions. Defendants also stated that the names of the designees would be disclosed
19   pursuant to the express terms of the draft protective order and indicated that if receiving the names
20   might resolve the dispute, Defendants would be willing to provide them following the call. The
21   FTC filed its motion hours later. In the interest of compromise, Microsoft and Activision have
22   now reduced their proposed number of designees to three and two in-house lawyers respectively.
23                                          LEGAL STANDARD
24            In deciding whether to grant in-house counsel access to confidential materials, courts “must
25   balance the risk to [one party] of inadvertent disclosure of trade secrets to competitors against the
26 risk to [the other party] that protection of . . . trade secrets impair[s] prosecution of [its] claims.”

27   Brown Bag Software v. Symantec Corp., 960 F.2d 1465, 1470 (9th Cir. 1992). The risk of
28   inadvertent disclosure is assessed by asking whether the in-house counsel to be granted access is

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      Case No. 3:23-cv-02880-JSC                                    JOINT OPP. TO PLF’S MOTION FOR PO
 1   “involved in ‘competitive decisionmaking;’ that is, advising on decisions about pricing or design
 2 made in light of similar or corresponding information about a competitor.” Id. at 1470.

 3                                             ARGUMENT
 4            The FTC speculates that granting Defendants’ in-house litigation counsel access to trial
 5 exhibits could result in the disclosure of Confidential information to competitive decisionmakers

 6 at the company. But Defendants’ proposed protective order, Ex. A ¶ 8, expressly contemplates

 7 that the individuals given access to Confidential trial exhibits are not and will not be involved in

 8 competitive decision-making, and that these individuals would view the exhibits either at outside

 9 counsel’s trial site or in a secure data room and sign an agreement to be bound by the protective

10 order’s terms. See Wisk Aero LLC v. Archer Aviation Inc., No. 3:21-CV-02450-WHO, 2022 WL

11 6251010, at *2 (N.D. Cal. Sept. 16, 2022) (in-house counsel access permissible where, among

12 other things, the protective order contained safeguards). As set out in the attached declarations,

13 Exs. B–F, Defendants’ five designated in-house counsel have no involvement in competitive

14 decision-making and are the day-to-day managers of this litigation and legal advisors to their

15 company on the issues in this litigation. Their job responsibilities involve responding to regulatory

16 inquiries, overseeing litigation, supervising outside counsel, and managing compliance with

17 competition laws and regulations for Microsoft and Activision worldwide. These individuals

18 require access to Confidential material on the parties’ exhibits to meaningfully direct outside

19 counsel and manage this preliminary injunction proceeding.

20            The FTC’s position is especially untenable given that the FTC frequently stipulates to
21 protective orders that provide in-house litigation counsel some access to Confidential material.

22 See, e.g., FTC v. Meta Platforms, Inc., No. 1:20-cv-03590-JEB, ECF No. 134 at 13 (Mar. 25, 2022)

23 (permitting disclosure of highly confidential information to two in-house counsel “with

24 responsibilities for the litigation”); FTC v. Staples Inc., No. 1:15-cv-02115-EGS, ECF 63 at 4

25 (D.D.C. Jan. 10, 2016) (permitting disclosure of confidential information to designated in-house

26 counsel). Indeed, mere months ago, the FTC signed onto a protective order allowing access to

27 three in-house counsel “with responsibilities for litigation of th[e] action” in a preliminary

28 injunction proceeding in the Northern District of California. FTC v. Meta Platforms, Inc., No.

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      Case No. 3:23-cv-02880-JSC                                  JOINT OPP. TO PLF’S MOTION FOR PO
 1   5:22-cv-04325-EJD, ECF No. 80 at 5 (Aug. 24, 2022). Defendants modeled their proposed
 2 protective order on the Meta order, and the FTC offered no explanation whatsoever during the

 3 parties’ meet and confer or in its motion as to how this matter is distinguishable. That is because

 4 no principled distinction exists.

 5            The FTC’s arguments are unavailing or beside the point. First, Defendants’ in-house
 6 litigation counsel are not permitted to see Confidential material in the Part 3 proceeding because

 7 under FTC rules, “the Administrative Law Judge shall issue a protective order as set forth in the

 8 appendix to this section,” and the Appendix is the “Standard Protective Order” that disallows in-

 9 house counsel access to Confidential information.         16 C.F.R. § 3.31(d) (emphasis added).
10 Obviously, no such rule applies in federal court, and federal judges routinely recognize the need

11 for in-house counsel to obtain access to confidential materials to direct the litigation. See, e.g.,

12 MedImpact Healthcare Sys., Inc. v. IQVIA Inc., No. 19-CV-1865-GPC (DEB), 2021 WL 389820,

13 at *4 (S.D. Cal. Feb. 4, 2021) (“Because they are not competitive decisionmakers, and because

14 they have safeguards in place to protect against further disclosure of Plaintiffs’ trade secrets and

15 source codes, the Court finds that the Brown Bag factors do not support denying Mses. Nakly,

16 Kibbe, or Katz access to any of the discovery generated in this case.”); U.S. Steel Corp. v. United

17 States, 730 F.2d 1465, 1469 (Fed. Cir. 1984) (seminal case holding that “status as in-house counsel

18 cannot alone create that probability of serious risk to confidentiality and cannot therefore serve as

19 the sole basis for denial of access”). Indeed, another district court has granted in-house counsel

20 access to all Confidential evidence in an FTC proceeding because “[i]t would be unfair. . . for the

21 government to attempt to prevent a private business transaction based, even in part, on evidence

22 that is withheld from the actual Defendants (as distinct from their outside counsel).” See FTC v.

23 Sysco, 83 F. Supp. 3d 1, 4 (D.D.C. 2015). The same is true here.

24            Second, without even knowing the identities of Defendants’ proposed designees, the FTC
25 argues that Defendants’ in-house counsel are “high-ranking” and cites to inapposite caselaw

26 denying access to a chief legal officer and executive vice president. Defendants are not proposing

27 to designate for access its chief legal officer or any comparably senior in-house lawyer but instead

28 is proposing to grant access to the lawyers who manage the litigation.

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      Case No. 3:23-cv-02880-JSC                                  JOINT OPP. TO PLF’S MOTION FOR PO
 1            Third, the FTC emphasizes that third parties produced “hundreds of thousands of
 2   commercially sensitive documents” and that there is insufficient time for third parties to protect
 3 their interests. But as set out in Defendants’ proposed protective order, in-house counsel access

 4 would be limited to Confidential documents on the parties’ exhibit lists, which is a universe of

 5 only 111 documents (35 documents on the FTC’s exhibit list, and 76 on Defendants’).

 6            Finally, Defendants will need to respond to the evidence as it comes in, and in-house
 7 lawyers most familiar with the company are able to use their detailed knowledge of the company

 8 and experience in the industry to help outside counsel develop a response and collect the

 9 information needed for that response. Preventing in-house counsel—who are responsible for

10 managing this fast-paced, high-stakes hearing—from viewing the FTC’s exhibits would prejudice

11 Defendants’ ability to defend themselves.

12                                            CONCLUSION

13            For the foregoing reasons, this Court should deny Plaintiff’s Motion for Protective Order
14   and enter Defendants’ proposed Protective Order.
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      Case No. 3:23-cv-02880-JSC                                  JOINT OPP. TO PLF’S MOTION FOR PO
 1   Dated:     June 19, 2023
 2
                                                            By:   /s/ Beth Wilkinson
 3   Jack DiCanio (Bar No. 138782)                                Beth Wilkinson (pro hac vice)
     Caroline Van Ness (Bar No. 281675)                           Rakesh Kilaru (pro hac vice)
 4                                                                Kieran Gostin (pro hac vice)
     SKADDEN, ARPS, SLATE, MEAGHER &
                                                                  Grace Hill (pro hac vice)
 5   FLOM LLP                                                     Anastasia Pastan (pro hac vice)
     525 University Avenue                                        Sarah Neuman (pro hac vice)
 6   Palo Alto, California 94301                                  WILKINSON STEKLOFF LLP
     Telephone: (650) 470-4500                                    2001 M Street NW, 10th Floor
 7   Facsimile: (213) 621-5430                                    Washington, DC 20036
     Email: jack.dicanio@skadden.com                              Telephone: (202) 847-4000
 8                                                                Facsimile: (202) 847-4005
     Email: caroline.vanness@skadden.com
                                                                  bwilkinson@wilkinsonstekloff.com
 9                                                                rkilaru@wilkinsonstekloff.com
     Steven C. Sunshine (pro hac vice)                            kgostin@wilkinsonstekloff.com
10   Julia K. York (pro hac vice)                                 ghill@wilkinsonstekloff.com
     SKADDEN, ARPS, SLATE, MEAGHER &                              apastan@wilkinsonstekloff.com
11   FLOM LLP                                                     sneuman@wilkinsonstekloff.com
     1440 New York Avenue, N.W.
12                                                                Bambo Obaro (Bar No. 267683)
     Washington, DC 20005-2111                                    Weil, Gotshal and Manges
13   Telephone: (202) 371-7000                                    201 Redwood Shores Parkway
     Facsimile: (202) 393-5760                                    Redwood Shores, CA 94065
14   Email: steven.sunshine@skadden.com                           Telephone: (650) 802-3083
     Email: julia.york@skadden.com                                Facsimile: (650) 802-3100
15                                                                bambo.obaro@weil.com
16   Maria Raptis (pro hac vice)
     Matthew M. Martino (pro hac vice)                            Michael Moiseyev (pro hac vice)
     Michael J. Sheerin (pro hac vice)                            Megan A. Granger (pro hac vice)
17
     Evan R. Kreiner (pro hac vice)                               WEIL, GOTSHAL &MANGES LLP
18   Bradley J. Pierson (pro hac vice)                            2001 M Street, NW
     Jessica R. Watters((pro hac vice)                            Suite 600
19   SKADDEN, ARPS, SLATE, MEAGHER &                              Washington, DC 20036
     FLOM LLP                                                     Telephone: (202) 682-7000
20                                                                Facsimile: (202) 857-0940
     1 Manhattan West
     New York, NY 10001                                           michael.moiseyev@weil.com
21
                                                                  megan.granger@weil.com
22   Telephone: (212) 735-3000
     Fax: (212) 735-2000                                          Counsel for Defendant Microsoft Corp.
23   Email: maria.raptis@skadden.com
     Email: matthew.martino@skadden.com
24   Email: michael.sheerin@skadden.com
25   Email: evan.kreiner@skadden.com
     Email: bradley.pierson@skadden.com
26   Email: jessica.watters@skadden.com

27   Counsel for Defendant Activision Blizzard, Inc
28

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